Case 1:24-cr-00542-AS Document52_ Filed 10/20/24 Page1iof1
U.S. Department of Justice

United States Attorney
Southern District of New York

26 Federal Plaza, 37" Floor
New York, New York 10278

October 29, 2024

BY ECF

The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: United States v. Combs, 24 Cr. 542 (AS)
Dear Judge Subramanian:

Pursuant to the Court’s Individual Rules, the Government respectfully requests
permission to file its memorandum of law in opposition to defendant Sean Combs’ motions at
Dkt. No. 32, 36, and 42, which is due October 30, 2024, as an oversized brief exceeding 25 pages.
Because the Government plans to respond to all three motions in the same brief, the Government
estimates that its brief will be approximately 40 pages. The Government conferred with defense
counsel, who consents to the request.

GRANTED. The Clerk of Court is

/ Respectfully submitted,
respectfully directed to terminate the motion
at Dkt. 51. DAMIAN WILLIAMS
United States Attorney
SO ORDERED.
By: __/s
Meredith Foster
( ( pe Emily A. Johnson
Christy Slavik
Arun Subramanian, U.S.D.J. Madison Reddick Smyser
Date: October 30, 2024 Mitzi Steiner

Assistant United States Attorneys
(212) 637-2310/-2409/-1113/-2381/-2284
